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                              EXHIBIT B
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    The Center for Countering Digital Hate is a not-for-profit NGO that seeks to disrupt the
    architecture of online hate and misinformation.
    Digital technology has changed forever the way we communicate, build relationships,
    share knowledge, set social standards, and negotiate and assert our society's values.
    Digital spaces have been colonised and their unique dynamics exploited by fringe
    movements that instrumentalise hate and misinformation. These movements are
    opportunistic, agile and confident in exerting influence and persuading people.
    Over time these actors, advocating diverse causes - from anti-feminism to ethnic
    nationalism to denial of scientific consensus - have formed a Digital Counter
    Enlightenment. Their trolling, disinformation and skilled advocacy of their causes has
    resocialised the offline world for the worse.
    The Center's work combines both analysis and active disruption of these networks.
    CCDH's solutions seek to increase the economic, political and social costs of all parts of
    the infrastructure - the actors, systems and culture - that support, and often profit from
    hate and misinformation.



    Anti-Vax Watch
    Anti-Vax Watch is an alliance of concerned individuals who are seeking to educate the
    American public about the dangers of the anti-vax industry.
    As the anti-vaccine industry actively seeks to undermine the rollout of the COVID vaccine
    – capitalizing on a heightened sense of hesitancy from the public and targeting
    communities of color who have already been disproportionately impacted by the
    pandemic – we recognize that this is an all-hands-on-deck moment. We believe we must
    join together to bring science and facts to the forefront and alert the public to the
    dangerous agenda of anti-vaccine leaders.
    Our efforts center around bringing to light the nefarious activities of the anti-vaccine
    industry and working with leading experts to dispute their falsehoods and non-medical
    disinformation with science, research and expert analysis. Our goal is to support the
    efforts of leading health experts, pro-vaccine researchers and educators, civil rights and
    business organizations, and others who, like us, recognize the importance of raising
    awareness of the science of vaccines.




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    Introduction
    In March 2021, CCDH and Anti-Vax Watch identified the top 12 spreaders of anti-vaccine
    disinformation on social media in our report, The Disinformation Dozen. The CEOs of
    Facebook, Twitter and Google responded by pledging to strengthen and better enforce
    their policies; crack down on vaccine disinformation on their platforms; and protect public
    health – but they have not kept their promises. Despite continued violations of
    community standards, the majority of the Disinformation Dozen remain online and active
    in their disinformation-spreading campaigns on at least one platform.
    Facebook, Twitter, and Google CEOs were put on notice by bipartisan members of the
    U.S. House Energy and Commerce Committee in a March 25 hearing about the dangers
    of the misinformation spread by the Disinformation Dozen. Senators Klobuchar, Luján
    and Warner and a group of 12 state Attorneys General also sounded the alarm.
    Since the hearing with legislators, the CEOs’ failure to back up their promises with actions
    has allowed The Disinformation Dozen to post 105 pieces of disinformation generating
    up to 29 million impressions.
    Covid-19 has taken more than 3 million lives worldwide and 570,000 in the United
    States, yet a small number of organized actors continue to profit by spreading
    disinformation about vaccines. These modern snake oil salesmen use social media to
    spread lies and persuade vulnerable people to pay them for false cures and malignant
    content and to turn them into disinformation carriers. According to our research, anti-
    vaccine activists on Facebook, YouTube, Instagram, and Twitter reach more than 59
    million followers, being drip-fed disinformation daily.
    By analyzing a sample of anti-vaccine content shared on Facebook and Twitter between
    1 February and 16 March 2021, we found that 65% of all anti-vaccine content was
    attributable to a member of the Disinformation Dozen, who repeatedly violated
    Facebook, Instagram, and Twitter’s stated community standards.
    Facebook, Twitter and Google have time and again failed to enforce their own
    community standards, despite pleas by elected officials, health experts, and concerned
    advocates, putting public health at further risk. Further, their moderation practices
    remain unregulated and unchecked by elected bodies. Big Tech sets the rules – they are
    judge, jury, and jailor – with no democratic checks or balances.
    We know the most effective way to disrupt the dissemination of harmful misinformation
    is to stop providing services to the most egregious repeat offenders. Each day the
    Disinformation Dozen’s accounts remain active is another day that their lies cost lives. It’s
    time to finish the job.
    Imran Ahmed
    CEO, CCDH




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    Foreword
    A year into the COVID-19 pandemic, we continue to work tirelessly to bring an end to this
    global health crisis. With vaccines now widely available to the public, hope is on the
    horizon. Unfortunately, standing in the way are a small group of individuals who are
    using social media platforms to mislead our patients, friends and family members with
    maliciously false information about COVID-19 and the safety and efficacy of the vaccines.
    As medical professionals, our days are now filled with conversations between patients,
    families and colleagues discussing and debunking harmful lies and disinformation
    regarding the COVID-19 vaccines, their safety and side effects.
    It has become alarmingly clear that these anti-vaccine individuals and groups are taking
    advantage of the current situation, and in many cases, are proving successful in their
    attempts to capitalize on any hesitations or fears with disproven claims and false
    information. The longer social media platforms like Facebook, Instagram and Twitter
    allow these dangerous lies to continue circulating, the more lives will be unnecessarily at
    risk.
    We strongly urge these platforms to enforce their own policies on disinformation. We
    respectfully ask that all enforcement be prompt, consistent and fully transparent. By
    simply following through on the statements, rules and regulations these companies have
    announced, they can stem the tide of dangerous lies. Failure to do so will certainly
    prolong the pandemic and needlessly leave countless lives in the balance.
    With a possible end to the pandemic in sight, it is time social media platforms do their
    part to stop the spread of disinformation. Enforcement of their policies will have a direct
    impact on the number of lives lost or saved as we continue fighting to bring the
    pandemic to a swift end.
    Jennifer Nuzzo, DrPH, SM
    Johns Hopkins Bloomberg School of Public Health
    Céline Gounder, MD, ScM, FIDSA
    Clinical Assistant Professor of Medicine and Infectious Diseases, New York University
    School of Medicine and Bellevue Hospital
    Atul Nakhasi, MD
    Primary Care Physician and Co-Founder of #ThisIsOurShot
    Sunny Jha, MD
    Anesthesiologist, Pain Physician, Patient and Physician Advocate and Co-Founder of
    #ThisIsOurShot




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    Executive Summary
    1.   Facebook, Instagram, Twitter and Google have announced policies to address Covid-
         19 and vaccine disinformation on their platforms to protect public health and safety;
         however, to-date, countless examples of anti-vaccine rhetoric remain, and platforms
         have failed to fully enforce their existing policies and unilaterally remove the top
         disseminators of disinformation.
    2.   According to our analysis, 65% of online anti-vaccine content is attributable to 12
         anti-vaccine activists, the Disinformation Dozen, who play leading roles in spreading
         digital misinformation about Covid-19 vaccines.1 Despite numerous policy violations
         by these individuals, Facebook and Twitter have yet to take action against the
         majority of the Disinformation Dozen.
    3.   Members of the U.S. House Energy and Commerce Committee presented this
         information to the CEOs of Facebook, Twitter and Google at a joint subcommittee
         hearing on 25 March 2021. They were pressed by members of Congress to review our
         report on the Disinformation Dozen and take action to enforce their existing policies.2
    4.   Since our previous report’s release on 24 March, social media platform operators
         have taken some enforcement action, and a handful of the Disinformation Dozen
         members’ accounts were removed from at least one platform. However, social media
         CEOs have not followed through with comprehensive action against the majority of
         the Disinformation Dozen. As of 25 April 2021, 10 of the 12 anti-vax leaders remain on
         Facebook and Twitter, and nine of 12 remain on Instagram.
    5.   We have been monitoring the online activities of the Disinformation Dozen in the
         month since the hearing, identifying 105 pieces of content that violate Facebook,
         Instagram and Twitter’s terms of service agreements.
    6.   This content generated up to 29 million potential impressions from the existing
         followers of Disinformation Dozen accounts, not including the reach of Facebook’s
         private groups, hidden messages and other tactics being used by leading anti-
         vaxxers to continue to operate amid heightened scrutiny by our groups and others.
    7.   The failure by Facebook, Twitter and Instagram to address the offenders of these
         clear policy violations, despite having the identities of these individuals handed to
         them by members of Congress on 25 March, is emblematic of platforms’ inability to
         successfully regulate disinformation on a much larger scale highlighted in our reports:
             a. Research conducted by CCDH last year has shown that platforms fail to act on
                 95 percent of the Covid and vaccine misinformation reported to them.
            b. CCDH’s recent report, Malgorithm, uncovered evidence that Instagram’s
               algorithm actively recommends similar misinformation.
            c. Tracking of 425 anti-vaccine accounts by CCDH shows that their total
               following across platforms now stood at 59.2 million in December, an increase
               of 877,000 more than they had in June.
            d. CCDH’s ongoing tracking shows that the 20 anti-vaxxers with the largest
               followings account for over two-thirds of this total cross-platform following of
               59.2 million.
    8. The most effective and efficient way to stop the dissemination of harmful
       information is to deplatform the most highly visible repeat offenders. This should
       also include the organizations these individuals control, as well as any backup
       accounts they have established to evade removal.


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    The Disinformation Dozen hit up to 29m
    impressions while Big Tech failed to act
    Our last report, The Disinformation Dozen, identified a dozen individuals responsible for
    up to 65 percent of anti-vaccine content circulating on social media platforms. It shows
    that by taking action on this tiny group of “superspreaders”, platforms can make a
    significant impact on the spread of dangerous vaccine misinformation.
    In total, 18 accounts operated by the Disinformation Dozen have been removed following
    the publication of the CCDH and Anti-Vax Watch's report last month.
       1. Joseph Mercola
       2. Robert F. Kennedy, Jr.
       3. Ty and Charlene Bollinger
       4. Sherri Tenpenny
       5. Rizza Islam
       6. Rashid Buttar
       7. Erin Elizabeth
       8. Sayer Ji
       9. Kelly Brogan
       10. Christiane Northrup
       11. Ben Tapper
       12. Kevin Jenkins
    Members of Congress called for action on the Disinformation Dozen
    On 25 March 2021, members of the U.S. House Energy and Commerce Committee raised
    our findings to the CEOs of Facebook, Twitter and Google at a joint subcommittee
    hearing. They were pressed by members of Congress to review our report on the
    Disinformation Dozen and take action to enforce their existing policies.
    Representative Mike Doyle raised our findings about the Disinformation Dozen and
    asked all three CEOs to “look at it today and get back to us tomorrow”, prompting Twitter
    CEO Jack Dorsey to respond “yes, we remove everything against our policy”.3
    Representative McNerney stated that he was “concerned” by the CEOs’ “unwillingness to
    commit to enforcing your own policies and remove the 12 most egregious spreaders of
    vaccine disinformation from your platforms”.4
    Separately, Representatives Eshoo and Guthrie challenged Jack Dorsey over a post from
    Robert F. Kennedy Jr. falsely linking the death of baseball player Hank Aaron to Covid
    vaccines.5
    Platforms failed to act – exposing users to anti-vaccine content millions of times
    From 25 March to 24 April, 2021, researchers captured the content from social media
    accounts associated with the Disinformation Dozen multiple times daily. Each piece of
    content and the content of any videos or links it contained were then analyzed for
    potential violations of the containing platform’s policies related to Covid and vaccine
    misinformation. Potential violations were logged and received a further quality check
    before being selected for us in this report.



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    As the platforms themselves are opaque about the reach and impact of any post, we
    elected to represent the total potential impact using “potential impressions”. We
    calculated this metric by taking each violating post and multiplying it by the number of
    followers of the posting account as of 24 April 2021.
    This process revealed that the Disinformation Dozen have posted 105 pieces of content
    that violate platform service agreements in the month since members of Congress called
    on tech CEOs to deplatform them.
    This content generated up to 29 million potential impressions from the existing followers
    of Disinformation Dozen accounts, not including the reach of Facebook’s private groups,
    hidden messages and other tactics being used by leading anti-vaxxers to continue to
    operate amid heightened scrutiny by our groups and others.
    Despite repeatedly violating Facebook, Instagram and Twitter’s terms of service
    agreements, half of the Disinformation Dozen remain on Facebook, Instagram and
    Twitter. Nine of the 12 remain on Facebook, 10 of the 12 remain on Twitter, and 9 of the 12
    remain on Instagram, with no discernible consistency or transparency in how platforms
    treat violations.
    The table below collates this information, marking members of the Disinformation Dozen
    according to whether they are actively using platforms to spread misinformation. Where
    an anti-vaxxer is actively posting misinformation on a platform, it is marked as “Active
    Misinformation”.
    Where members of the Disinformation Dozen have modified their behaviour to direct
    followers to backup accounts posting misinformation on other platforms such as
    Telegram, they are marked as “Evading Detection”. Finally, cases where a member of the
    Disinformation Dozen has stopped using a platform are marked as “Account Inactive”.




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   Example Policy Violations
   Monitoring of the Disinformation Dozen since members of Congress called for them to be
   deplatformed on 25 March 2021 shows that they have all continued to use their social
   media accounts to spread misinformation. Key examples for each member of the
   Disinformation Dozen can be found below.



   1 Joseph Mercola
   Facebook:      Active
   Twitter:       Active
   Instagram:     Active
   Joseph Mercola is a successful anti-vaccine entrepreneur, peddling dietary supplements
   and false cures as alternatives to vaccines. Mercola’s combined personal social media
   accounts have around 3.6 million followers.




   Joseph Mercola is using his social media accounts to promote a forthcoming book that carries the
   conspiracy theory that Covid was “lab-engineered” in China and “anticipated by global elites”.




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   2 Robert F. Kennedy Jr.
   Facebook:     Active
   Twitter:      Active
   Instagram:    Part Removed
   Kennedy is a long-standing anti-vaxxer, and his Children’s Health Defense (CHD) hosts a
   range of anti-vaccine articles.
   Kennedy’s account was banned from Instagram on 8 February, but his Facebook Page
   remains active, as does the CHD’s Instagram page.
   Kennedy and Children’s Health Defense released a film in mid-March targeting members
   of the Black and Latino communities with tailored anti-vaccine messages. Facebook and
   Twitter continue to allow him a platform to promote these false claims.




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   3 Ty & Charlene Bollinger
   Facebook:     Active
   Twitter:      Removed
   Instagram:    Part Removed
   Ty and Charlene Bollinger are anti-vax entrepreneurs who run a network of accounts that
   market books and DVDs about vaccines, cancer and COVID-19. In 2020 they launched the
   United Medical Freedom Super PAC ahead of last year’s United States elections.
   Instagram has removed one of the Bollingers’ Instagram accounts, but two are still active.




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   4 Sherri Tenpenny
   Facebook:       Part Removed
   Twitter:        Active
   Instagram:      Part Removed
   Sherri Tenpenny is an osteopath physician who spreads anti-vaccine sentiment and false
   claims about the safety and efficacy of masks via her social media channels. While her
   main Facebook account has been removed, her Twitter and backup Instagram accounts
   are still intact.




   “This is not a vaccine. A vaccine is supposed to protect us against a bacterial or viral infection.
   There is nothing in any of these shots that is designed to protect us against a virus infection.” 11:11-
   11:26




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   5 Rizza Islam
   Facebook:    Part Removed
   Twitter:     Active
   Instagram:   Part Removed
   Rizza Islam’s anti-vaccine posts aim to spread vaccine hesitancy amongst African
   Americans. Islam’s main Facebook Page was removed in February, followed by his main
   Instagram account in March, but he continues to post anti-vaccine misinformation from
   his Twitter account as well as backup Facebook and Instagram accounts.




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   6 Rashid Buttar
   Facebook:       Removed
   Twitter:        Active
   Instagram:      Removed
   Rashid Buttar is an osteopath physician and conspiracy theorist known for videos posted
   to his YouTube channel.




   “This is no different than the regular flu, the numbers, even with them artificially inflating them,
   haven’t changed anything.” 10:10




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   7 Erin Elizabeth
   Facebook:      Active
   Twitter:       Active
   Instagram:     Active
   Erin Elizabeth, partner to Joseph Mercola, runs Health Nut News, a prominent ‘alternative
   health’ website with affiliated newsletter and social media accounts.




   Erin Elizabeth has shared links to “truthweek.org” which misrepresents VAERS data to falsely link
   Covid vaccines to deaths.




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   8 Sayer Ji
   Facebook:     Active
   Twitter:      Part Removed
   Instagram:    Removed
   Sayer Ji runs a popular alternative health website, GreenMedInfo.com, and affiliated
   social media accounts that promote pseudoscience and anti-vaccine misinformation.
   Despite his GreenMedInfo accounts being removed by Twitter and Instagram, it is still
   available on Facebook.
   Sayer Ji’s personal Instagram account was removed on 24 April 2021, coinciding with the
   conclusion of our research.




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   9 Kelly Brogan
   Facebook:      Removed
   Twitter:       Active
   Instagram:     Active
   Kelly Brogan is the partner of fellow alternative health entrepreneur Sayer Ji. She claims
   to practice “holistic psychiatry” and sells a range of books and courses from her website.




   The link in Kelly Brogan’s Instagram biography leads to misinformation about Covid and mask-
   wearing.




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   10 Christiane Northrup
   Facebook:     Active
   Twitter:      Active
   Instagram:    Active
   Christiane Northrup is an obstetrics and gynecology physician who has embraced
   alternative medicine and anti-vaccine conspiracies. She has used her social media
   accounts to spread disinformation about the COVID-19 vaccine.




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   11 Ben Tapper
   Facebook:     Active
   Twitter:      Active
   Instagram:    Active
   Ben Tapper is a chiropractor with a growing following on social media. He has routinely
   posted COVID disinformation and spoken out against masking.




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   12 Kevin Jenkins
   Facebook:       Active
   Twitter:        N/A
   Instagram:      Active
   Kevin Jenkins is an anti-vaccine activist with a growing social media presence who has
   appeared at public events with Robert F. Kennedy, Jr. Jenkins has called vaccines a
   “conspiracy” to “wipe out” black people and is a co-founder of the Freedom Airway &
   Freedom Travel Alliance, a company founded in late 2020 to help its members travel
   around the world without observing any masking, quarantining, vaccination, or other
   pandemic control measures.




   “I just came from a supermarket in Tulsa; it was great to connect--I connected with so many
   people. it was just amazing to see so many Americans unmasked, seeking the truth, trying to find
   out the information that was important for their families and their communities. And I gotta tell
   you, it was very touching. But one of the things I got out of it, a lot of us as Americans, we're not
   talking about the same thing. they didn't know about the vaccine passport, they didn't really know
   about the dangers of this vaccine biologic that's being put in their bodies right now. They didn't
   know. So we have a lot of work to do.” 1:08 - 1:42




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   Appendix: Policy Violations
   Screenshots of all 105 pieces of Disinformation Dozen content violating platform
   standards are available on our website at counterhate.com/disinfosequel.




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   1
     “The Disinformation Dozen”, Center for Countering Digital Hate & Anti-Vax Watch, 24 March
   2021, https://www.counterhate.com/disinformationdozen
   2
     CCDH, Twitter, 25 March 2021, https://twitter.com/CCDHate/status/1375134082968006665
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